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                         Civil Case Information Statement
 Case Details: GLOUCESTER | Civil Part Docket# L-001158-18

 Case Caption: D. L. VS ROWAN UNIVERSITY                          Case Type: PERSONAL INJURY
 Case Initiation Date: 10/11/2018                                 Document Type: Complaint with Jury Demand
 Attorney Name: WILLIAM J MARTIN                                  Jury Demand: YES - 6 JURORS
 Firm Name: MARTIN GUNN & MARTIN                                  Hurricane Sandy related? NO
 Address: 216 HADDON AVE STE 420 PO BOX 358                       Is this a professional malpractice case? NO
 WESTMONT NJ 08108                                                Related cases pending: NO
 Phone:                                                           If yes, list docket numbers:
 Name of Party: PLAINTIFF : D., L.                                Do you anticipate adding any parties (arising out of same
 Name of Defendant’s Primary Insurance Company                    transaction or occurrence)? NO
 (if known): Unknown



       THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                       CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 10/11/2018                                                                                          /s/ WILLIAM J MARTIN
 Dated                                                                                                              Signed
